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         UNITED STATES BANKRUPTCY COURT
         EASTERN DISTRICT OF NEW YORK
         -------------------------------------------------------X
         IN RE:                                                                                                  CHAPTER 13
                                                                                                                 CASE NO.: 18-44202-ess
         VANESSA V DEBELLOTTE,




                                      DEBTOR(S).
         --------------------------------------------------------X
                                                              CHAPTER 13 PLAN                                                 Effective 12/01/2019


                
                ✔
                  Check this box if this is an amended plan. List below the sections of the plan which have been
                    changed:
                    Water Board Claim added; Attorney Fee Amended; Loan Modification request removed.


         PART 1: NOTICES
         To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
         does not indicate that the option is appropriate in your circumstance or that it is permissible in your judicial district. Plans
         that do not comply with the local rules for the Eastern District of New York may not be confirmable. If you do not have an
         attorney, you may wish to consult one.
         To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
         read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one.
         If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
         to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
         Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
         filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
         plan.

         1.1: The following matters may be of particular importance. Debtors must check one box on each line to state
         whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
         both or neither boxes are checked, the provision will be ineffective if set out later in the plan.

           a.     A limit on the amount of a secured claim, set out in Section 3.4, which may result in              Included  Not included
                                                                                                                                ✔


                  a partial payment or no payment at all to the secured creditor

           b.     Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest,               Included 
                                                                                                                               ✔
                                                                                                                                 Not included
                  set out in Section 3.6

           c.     Nonstandard provisions, set out in Part 9                                                          Included  Not Included
                                                                                                                                ✔




         1.2: The following matters are for informational purposes.

           a.     The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal                
                                                                                                                    ✔
                                                                                                                      Included  Not included
                  residence, set out in Section 3.3

           b.     Unsecured Creditors, set out in Part 5, will receive 100% distribution of their timely filed       Included 
                                                                                                                               ✔
                                                                                                                                 Not included
                  claim
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         PART 2: PLAN PAYMENTS AND LENGTH OF PLAN
         2.1 : The post-petition earnings of the debtor(s) are submitted to the supervision and control of the
         Trustee and the Debtor(s) shall pay to the Trustee for a period of months as follows:

         $ 150.00 per month commencing                       08/01/2018   through and including    09/01/2018    for a period of      2
         months; and
         $ 1657.02 per month commencing                      10/01/2018   through and including    03/01/2019    for a period of      6
         months.

               
               ✔       Continued on attached separate page(s).

         2.2 : Income tax refunds.

         If general unsecured creditors are paid less than 100%, as provided in Part 5 of this plan, then during the
         pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
         returns for each year commencing with the tax year 2019 , no later than April 15th of the year following the
         tax period. In addition to the regular monthly plan payments, indicated tax refunds are to be paid in full to the
         Trustee upon receipt, however, no later than June 15th of the year in which the tax returns are filed.

         2.3 : Additional payments.

         Check one.
             None. If “None” is checked, the rest of §2.3 need not be completed.
                ✔



             Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.
                Describe the source, estimated amount, and date of each anticipated payment.




         PART 3: TREATMENT OF SECURED CLAIMS
         3.1 : Maintenance of payments (including the debtor(s)’s principal residence).

               Check one.
                None. If “None” is checked, the rest of §3.1 need not be completed.
                Debtor(s) will maintain the current contractual installment payments on the secured claims listed
                ✔



                  below, with any changes required by the applicable contract and noticed in conformity with any
                  applicable rules. These payments will be disbursed directly by the debtor(s).

                                               Last 4 Digits of     Principal                                          Current Installment
             Name of Creditor                     Account          Residence         Description of Collateral         Payment (including
                                                  Number          (check box)                                               escrow)
         U.S. Bank Trust NA as Trustee
                                                                                107-07 Watson Place, Jamaica, NY
         for NSF9 Master Participation Trust        6139              
                                                                      ✔                                                     1934.49


                                                                      
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              Continued on attached separate page(s).

   3.2 : Cure of default (including the debtor(s)’s principal residence).

       Check one.
        None. If “None” is checked, the rest of §3.2 need not be completed.
        Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
       ✔



          interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts listed on a
          proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary
          amounts listed below. In the absence of a contrary timely filed proof of claim, the amounts listed below are
          controlling.

                               Last 4       Principal
                                                                                             Amount of      Interest Rate
       Name of Creditor       Digits of    Residence         Description of Collateral       Arrearage         (if any)
                              Acct No.    (check box)
   NYC Water Board                           
                                             ✔          107-07 Watson Place, Jamaica, NY       469.00



                                             

           Continued on attached separate page(s).

   3.3 : Modification of a mortgage secured by real property of the debtor(s).
        Check one.
       ✔
         The debtor(s) is not seeking to modify a mortgage secured by a property of the debtor(s).
         The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal residence and shall serve
            and file a Loss Mitigation Request under the Court’s Loss Mitigation Program pursuant to General Order
            #676. Complete the paragraph below.
 The mortgage due to                                     (creditor name) on the property known as
 (property address) under account number ending x              (last four digits of account number) is in default. All arrears,
 including all past due payments, late charges, escrow deficiency, legal fees and other expenses due to the mortgagee
 totaling $                 (total amount of arrearage), may be capitalized pursuant to a loan modification. The new
 principal balance, including capitalized arrears will be $                      (current total balance), and will be paid at
         % interest amortized over       years with an estimated monthly payment of $                         (total proposed
 monthly modified payment) including interest and escrow of $                                       (escrow portion of
 monthly payment). The estimated monthly payment, including proposed principal, interest, and escrow, shall be paid
 directly to the trustee while loss mitigation is pending and until such time as the debtor(s) has commenced payment
 under a trial loan modification. Contemporaneous with the commencement of a trial loan modification, the debtor(s)
 will amend the Chapter 13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct
 payment to the secured creditor going forward by the debtor(s).
             Continued on attached separate page(s).
        The debtor(s) is seeking to modify a mortgage outside of the Court’s Loss Mitigation Program and shall file a
          status letter on loss mitigation efforts seven (7) days prior to each scheduled Hearing on Confirmation.
          Complete the paragraph above.
        The debtor(s) has been offered and accepted a trial loan modification. Complete the paragraph below.
 The mortgage due to                                   (creditor name) on the property known as
 (property address) under account number ending x              (last four digits of account number) is in default as of this
 date. The Debtor(s) has accepted a trial loan modification. Monthly payments under the trial period plan, in the
 amount stated in Section 3.1 above, shall be paid directly to the secured creditor commencing on                     , _____,
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 and shall continue until a permanent modification agreement is authorized by the Court. Upon such Court
 authorization, except as otherwise expressly provided by Court Order, the Trustee is directed to cease any further
 disbursements on account of arrearage due on the claim of                           . The proof of claim affected
 by this paragraph is reflected on the Court’s Claims Register as Claim #    , originally filed for the benefit of
                           on            , _____, in the total amount of $                . After Court authorization of
 the permanent modification agreement, if all other requirements for confirmation are satisfied, this plan may be
 confirmed without further amendment incorporating the order only if this plan is timely served upon the secured creditor
 on the address for notices indicated on the proof of claim.

                 Continued on attached separate page(s).

         3.4 : Request for valuation of security, payment of fully secured claims, and modification of
              under-secured claims.
              Check one.
             
             ✔
               None. If “None” is checked, the rest of §3.4 need not be completed.

                    The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan
                    is checked.

              The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such
                    claim shall be paid pursuant to order of the court upon determination of such motion. This
                    paragraph shall not modify liens underlying any secured claims under non-bankruptcy law absent an
                    order determining such motion, and until either completion of payments under the plan or entry of
                    discharge of the debtor(s), as determined by the Court.

                           Last 4                                                               Estimated       Estimated
        Name of                          Description of         Value of       Total Amount    Amount of        Amount of
                          Digits of
        Creditor                           Collateral           Collateral       of Claim      Creditor’s       Creditor’s
                          Acct No.                                                            Secured Claim   Unsecured Claim




              Continued on attached separate page(s).
         3.5 : Secured claims on personal property excluded from 11 U.S.C. §506.

             Check one.
              None. If “None” is checked, the rest of §3.5 need not be completed.
              ✔



              The claims listed below were either:
                     o Incurred within 910 days before the petition date and secured by a purchase money
                         security interest in a motor vehicle acquired for the personal use of the debtor(s); or
                     o incurred within 1 year of the petition date and secured by a purchase money security
                         interest in any other thing of value.
                These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
                sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of claim
                filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed
                below. In the absence of a contrary timely filed proof of claim, the amounts stated below are
                controlling.
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                                        Last 4 Digits
           Name of Creditor                                     Collateral            Amount of Claim             Interest Rate
                                        of Acct No.




                 Continued on attached separate page(s).

         3.6 : Lien avoidance.

             Check one.
              None. If “None” is checked, the rest of §3.6 need not be completed.
              ✔




                    The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
                    checked.

              The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory, non-purchase
                    money security interests as the claims listed below impair exemptions to which the debtor(s) are
                    entitled under 11 U.S.C. §522(b) or applicable state law. See 11 U.S.C. §522(f) and Bankruptcy Rule
                    4003(d). Such claim shall be paid pursuant to order of the court upon determination of such
                    motion.
                                                                                      Estimated   Interest Rate      Estimated
                              Attorney for        Lien           Description of       Amount of    on Secured        Amount of
     Name of Creditor
                                Creditor      Identification       Collateral         Secured       Portion, if      Unsecured
                                                                                        Claim          any             Claim




                    Continued on attached separate page(s).


         3.7 : Surrender of collateral.

             Check one.
              None. If “None” is checked, the rest of §3.7 need not be completed.
              ✔



              The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s
                claim. The debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be
                terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminated. Any
                timely filed allowed unsecured claim resulting from the disposition of the collateral will be treated in
                Part 5 below.
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                                                    Last 4 Digits of
                  Name of Creditor                                                      Description of Collateral
                                                       Acct No.




         PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS


         4.1 : General.

         Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated
         in §4.5, will be paid in full without post-petition interest.


         4.2 : Trustee’s fees.

         Trustee’s fees are governed by statute and may change during the course of the case.



         4.3 : Attorney’s fees.

         The balance of the fees owed to the attorney for the debtor(s) is $ 4,485.43           _.


         4.4 : Priority claims other than attorney’s fees and those treated in §4.5.

         Check One.
             None. If “None” is checked, the rest of §4.4 need not be completed.
              ✔



             The debtor(s) intend to pay the following priority claims through the plan:

                           Name of Creditor                                     Estimated Claim Amount




                  Continued on attached separate page(s).


         4.5 : Domestic support obligations.

         Check One.
             None. If “None” is checked, the rest of §4.5 need not be completed.
              ✔



             The debtor(s) has a domestic support obligation and is current with this obligation. Complete table
                below; do not fill in arrears amount.
             The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
                the Plan. Complete table below.
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                                         Date of                           Monthly DSO       Amount of Arrears to be
           Name of Recipient                           Name of Court                         Paid through Plan, If Any
                                         Order                              Payment




         PART 5: TREATMENT OF NONPRIORITY UNSECURED CLAIMS
         Allowed nonpriority unsecured claims will be paid pro rata:

              Not less than the sum of $            .
              Not less than        _% of the total amount of these claims.
             
             ✔
               From the funds remaining after disbursement have been made to all other creditors provided for in
                 this plan.
         If more than one option is checked, the option providing the largest payment will be effective.


         PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         6.1 : The executory contracts and unexpired leases listed below are assumed and will be treated as
         specified. All other executory contracts and unexpired leases are rejected.
         Check one.
             None. If “None” is checked, the rest of §6.1 need not be completed.
              ✔



             Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
                below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the
                trustee.

                                           Description of Leased Property or      Current Installment   Amount of Arrearage
            Name of Creditor
                                                  Executory Contract              Payment by Debtor     to be Paid by Trustee




         PART 7: VESTING OF PROPERTY OF THE ESTATE
         Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
         debtor(s) upon completion of the plan.

         PART 8: POST-PETITION OBLIGATIONS

         8.1 : Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
         obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.

         8.2 : Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00
         without written consent of the Trustee or by order of the Court.
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         PART 9: NONSTANDARD PLAN PROVISIONS
         9.1 : Check “None” or list nonstandard plan provisions.

             
             ✔
               None. If “None” is checked, the rest of §9.1 need not be completed.

         Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
         provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
         elsewhere in this plan are ineffective.

         The following plan provisions will be effective only if there is a check in the box “included” in §1.1(c).




         PART 10: CERTIFICATION AND SIGNATURE(S):

         10.1: I/we do hereby certify that this plan does not contain any nonstandard provisions other than
         those set out in the final paragraph.


         Signature of Debtor 1                                     Signature of Debtor 2

         Dated:April 2, 2020                                       Dated:




         s/Norma E. Ortiz
         Signature of Attorney for Debtor(s)

         Dated: April 2, 2020
